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                    Exhibit 1-CC
          Evidence Packet in Support of Defendant’s Motions for Summary Judgment


           U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                     Exhibit 1CC
                                                       White Decl. ISO Disney's SJ Motion P.0570
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   1                       UNITED STATES DISTRICT COURT FOR THE
                              CENTRAL DISTRICT OF CALIFORNIA
   2
          T.P., et al                         )   Case No. 15-cv-5346-R
   3                                          )
          VS.                                 )
   4                                          )
          WALT DISNEY PARKS AND               )
   5      RESORTS U.S., INC.                  )
   6
   7                  *********************************************
   8                                  ORAL DEPOSITION
   9                                CARISSA MEYER, M.D.
  10                                DECEMBER 17, 2019
  11                                     VOLUME I
  12                   *********************************************
  13
  14
  15
  16
  17            ORAL DEPOSITION of CARISSA MEYER, M.D., produced as a
  18      witness at the instance of the Plaintiffs, and duly sworn, was
  19      taken in the above-styled and numbered cause on the 17th day of
  20      December, 2019, from 2:17 p.m. to 4:55 p.m., before Rhonda K.
  21      Ashman, CSR, RPR, in and for the State of Texas, reported by
  22      stenographic means, at the offices of McDermott, Will & Emery,
  23      LLP, 2501 North Harwood Street, Suite 1900, Dallas, Texas,
  24      pursuant to the Rules of Civil Procedure and the provisions
  25      stated on the record or attached hereto.

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                                                  White Decl. ISO Disney's SJ Motion P.0571
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   1                              A P P E A R A N C E S
   2      FOR THE PLAINTIFFS:
   3           Mr. Domenick Lazzara, Esq.
               DOM LAW, PA
   4           1814 North 15th Street
               Ybor City, Florida 33605
   5           Phone (813) 606-5036
               Fax (813) 606-5336
   6           Dom@domlaw.com
   7      FOR THE DEFENDANT:
   8           Mr. Jeremy M. White, Esq.
               Ms. Sarah Schanz, Esq.
   9           McDERMOTT, WILL & EMERY, LLP
               The McDermott Building
  10           500 North Capitol Street, NW
               Washington, DC 20001-1531
  11           Phone (202) 756-8694
               Fax (202) 591-2799
  12           Jmwhite@mwe.com
  13      ALSO PRESENT:
               Zachary Steinmetz, Videographer
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   1                                 CARISSA MEYER, M.D.,

   2      having been first duly sworn, testified as follows:

   3                                 E X A M I N A T I O N

   4      BY MR. LAZZARA:

   5            Q.     Okay.    Good afternoon.     How are you?

   6            A.     I'm good.    Thank you.

   7            Q.     Good.    Thank you.    Have you taken any depositions

   8      before?     Had your deposition taken?

   9            A.     No.

  10            Q.     So this is your first time?

  11            A.     Yes.

  12            Q.     Okay.    I would like to just briefly go through some

  13      ground rules with you and set the predicate for the next hour

  14      or so together.

  15                           So we have a court reporter here.             That's the

  16      first part of this.       And the court reporter is taking a record

  17      of everything that you say.         So throughout the deposition, it's

  18      very important that if you answer questions, you answer with

  19      either "yes" or "no" and try to avoid inaudible gestures and

  20      head shakes or head nods or saying "uh-huh" or "huh-uh" because

  21      it's difficult for the madam court reporter to keep an accurate

  22      record.

  23                           Throughout this deposition, opposing counsel,

  24      Mr. White, may state objections in the nature of he'll say

  25      something, like, objection, form or a speaking objection.                        It

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   1            Q.     Such as?

   2            A.     By gesture, by noise.       He can make noises.             It's just

   3      not words.    And by his actions, what he does.

   4            Q.     Can you give me a specific example, things that are

   5      specific to             ?   For example, something that he's

   6      communicated to you by gesture and what the translation would

   7      be?

   8            A.     I mean, I would say when he comes to the office, you

   9      know, he communicates he does not want to be there by -- or

  10      feels nervous or anxious by, again, not wanting to sit down,

  11      then wanting to stand up, fidgeting, pushing towards the door,

  12      those sorts of behaviors.

  13            Q.     Okay.   What about the opposite, that he's enjoying

  14      his time or enjoying his experience, how do you know -- how do

  15      you know that?

  16            A.     That, you can tell just by the look on his face

  17      because when we examine him, we try to give him lots of praise.

  18      So if we say good job, then, you know, pat him, then he seems

  19      happy, kind of smiles.

  20            Q.     When            comes in for a visit with you,

  21      approximately how long does he have to wait in the waiting

  22      room?

  23            A.     It really varies.      It could be a long time, like,

  24      30 minutes.

  25            Q.     Do you offer something in your waiting room for

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   1            Q.    That's okay.       If you're not sure, I would prefer --

   2      let's just leave it at that then.

   3                          So then back to my last question:               Are there any

   4      other doctors that you have been -- that you see a lot of

   5      records of that ring a bell in this case?

   6            A.    No.

   7            Q.    Okay.    What about Dr. -- I don't know how to say his

   8      name -- Dr. Tran, the last -- doctor from the last deposition?

   9      Forgive me.   Dr. Quoc-Hung Tran.          That's it.

  10            A.    Yeah, he was the psychiatrist that --

  11            Q.    Oh, that's the same.

  12            A.    Yeah.

  13            Q.    Oh, so he was the psychiatrist before Dr. Elliott?

  14            A.    (Moving head up and down.)

  15            Q.    That makes sense.        Okay.

  16                          Have there ever been any discussions with you

  17      about their trips to Walt Disney World?

  18            A.    No.

  19            Q.    No?     Nothing?

  20            A.    No.

  21            Q.    Are you familiar with Maria Calderas?

  22            A.    No.

  23            Q.    Are you aware of any genetic treatment that

  24      has undergone or geneticists?

  25            A.    I know he's had genetic testing.               I don't believe it

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   1            Q.    You mentioned that you have been seeing him, you

   2      believe, for three years.     I know you practiced with

   3      Dr. Viktorin prior to that, but you believe you have seen him

   4      for about three years?

   5            A.    I saw him for at least the past three years at my new

   6      office, and then I -- she left the practice, the previous

   7      practice, and so then I became his primary person after that.

   8      And I don't recall when she left.        It may have been 2015.               I'm

   9      not sure.

  10            Q.    So maybe approximately four years you've --

  11            A.    I mean, I knew of him before that.            In most offices,

  12      there are certain patients that everybody knows of them just

  13      because they're -- have more chronic issues, and he -- I would

  14      consider him to be a patient like that; that everybody kind of

  15      knows about him.

  16            Q.    Sure.   And you see him -- unless he comes in for a

  17      sick visit -- approximately you said once a year for a well

  18      visit?

  19            A.    In the past two years, that's been the case.                 I've

  20      only seen him for well visits.      But prior to that, I saw him

  21      for sick visits at the old office.

  22            Q.    And when you see him for a well visit, how long do

  23      you see him for?

  24            A.    Usually probably, like, 20 to 30 minutes.

  25            Q.    What about a sick visit, how long does a sick visit

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   1      usually take?

   2             A.   It usually takes about the same amount of time for

   3      him.

   4             Q.   In the past three or four years that you have seen

   5      him, do you think you have seen him more than ten times?

   6             A.   In the past three or four years?            No, not more than

   7      ten.

   8             Q.   Not more than ten?

   9             A.   Yeah.

  10             Q.   So since you have been treating him or seeing

  11                          , you have seen him less than ten times; is

  12      that right?

  13             A.   I don't know.   I would have to go back to the very

  14      first time I saw him in the office and then calculate all of

  15      those visits, and I'm not sure what those would be.

  16             Q.   But you don't think it's more than ten?

  17             A.   Are you saying in the past -- you're saying the past

  18      three years only?

  19             Q.   Three to four years.

  20             A.   In the past three years, I know it's been less than

  21      ten in the past three years.

  22             Q.   And you mentioned that the mother,                                 ,

  23      called you to let you know what was going on; that you were

  24      going to be subpoenaed or you received a subpoena?

  25             A.   After I had already received it, yes, she called me.

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   1      and treat those aggressive behaviors.

   2            Q.     Thank you, Doctor.

   3                         MR. LAZZARA:   I don't have any further

   4      questions.    I appreciate your time.

   5                         Counsel, you may have follow-up, but I am

   6      officially done.

   7                         Thank you, Doctor.

   8                         THE WITNESS:   Thank you.

   9                         (Reporter's time:    4:54 p.m.)

  10                                FURTHER EXAMINATION

  11      BY MR. WHITE:

  12            Q.     Do you provide any accommodations to patients with

  13      autism who are waiting in your waiting room at the doctor's

  14      office?

  15                         MR. LAZZARA:   Objection, form.

  16            A.     No.   I would say no.

  17                         MR. WHITE:   Okay.   No further questions.

  18                         THE WITNESS:   Okay.

  19                         MR. LAZZARA:   Thank you, Doctor.

  20                         (Proceedings concluded at 4:55 p.m.)

  21

  22

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   1      STATE OF TEXAS    )

   2            I, Rhonda K. Ashman, Certified Shorthand Reporter in and

   3      for the State of Texas, do hereby certify that, pursuant to the

   4      agreement hereinbefore set forth, there came before me on the

   5      17th day of December, A.D., 2019 at 2:17 p.m., at McDermott,

   6      Will & Emery, LLP, 2501 North Harwood Street, Suite 1900, in

   7      the City of Dallas, County of Dallas, and State of Texas, the

   8      following named person to-wit: CARISSA MEYER, M.D., who was by

   9      me duly sworn to testify the truth and nothing but the truth of

  10      her knowledge touching and concerning the matters in

  11      controversy in this cause; and that she was thereupon carefully

  12      examined upon her oath and her examination reduced to writing

  13      under my supervision; that the deposition is a true record of

  14      the testimony given by the witness, same to be sworn to and

  15      subscribed by said witness before any Notary Public, pursuant

  16      to the agreement of the parties; and that the amount of time

  17      used by each party at the deposition is as follows:

  18            Mr. Domenick Lazzara - 1:09

                Mr. Jeremy M. White - 00:25

  19

  20            I further certify that I am neither attorney or counsel

  21      for, nor related to or employed by, any of the parties to the

  22      action in which this deposition is taken, and further that I am

  23      not a relative or employee of any attorney or counsel by the

  24      parties hereto, or financially interested in the action.

  25            I further certify that before the completion of the

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